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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


United States of America,                            Criminal No. 09-55 (6) (RHK/SER)

                            Plaintiff,                          ORDER

v.

Antione Maurice Easter,

                            Defendant.



       By letter dated March 22, 2012, Defendant seeks relief from his 10-year

mandatory minimum sentence. He relies on an amendment to the Sentencing Guidelines

effective November 1, 2011, which lowers the base offense levels applicable to cocaine

base (crack) offenses. A reduction, however, is not authorized as the amendment does

not lower the guideline range because of a statutory mandatory minimum sentence. In

addition, the reduced statutory minimum of the Fair Sentencing Act was not made

retroactive.

       Because the Court cannot reduce Defendant’s sentence below the statutory

mandatory minimum term of 120 months and because the mandatory minimum of the

Fair Sentencing Act were not made retroactive, Defendant’s letter request for a reduction

of his sentence (Doc. No. 353) is DENIED.

Dated: June 19, 2012

                                         s/Richard H. Kyle
                                         RICHARD H. KYLE
                                         United States District Judge
